         Case 2:16-cv-02105-JAR Document 569 Filed 10/17/18 Page 1 of 7




                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

STEVEN WAYNE FISH, et al.,                     )
                                               )
       Plaintiffs,                             )
                                               )
v.                                             )       Case No. 16-2105-JAR-JPO
                                               )
KRIS KOBACH, in his official capacity as )
Secretary of State for the State of Kansas, et )
al.,                                           )
                                               )
       Defendants.                             )
___________________________________ )

        DEFENDANT’S APPLICATION FOR THE ISSUANCE OF A SIMULTANEOUS
                 STAY WITH THE FILING OF THE COURT’S RULING

       In the (hopefully unlikely) event that the Court denies Defendant’s Motion to Enforce the

Protective Order and Enjoin Plaintiffs from Releasing the Videotape to the Media (Doc. ECF 560),

Defendant respectfully requests a short stay of the Court’s ruling to allow his office to seek review

of the order by the Tenth Circuit. A temporary stay of any adverse ruling would be warranted here

because, if the Court were to deny the motion and declare the videotape to be “public,” Defendant

expects the videotape to be immediately released to the media so that its footage can be used in

last-minute political commercials targeting the Defendant personally. Indeed, the only reason that

Plaintiffs are requesting the release of the video is to allow it to be used by partisan organizations

and political candidates opposing Secretary Kobach’s gubernatorial campaign. Further, once it is

sent out in an “e-blast,” neither the Court nor the parties can retract it. More significantly here, an

immediate release of the videotape would effectively prevent appellate review of the order. In

order to avoid having the Court be used as a pawn in Plaintiffs’ nakedly partisan tactics – a scenario

that can and should be avoided – Defendant requests that any adverse ruling be temporarily stayed

while Defendant seeks a stay with the Tenth Circuit.




                                                      1
         Case 2:16-cv-02105-JAR Document 569 Filed 10/17/18 Page 2 of 7




I.     Legal Standard for Granting a Stay is Easily Met

       A stay has the “practical effect of preventing some action before the legality of that action

has been conclusively determined.” Nken v. Holder, 556 U.S. 418, 428 (2009).

       The authority to hold an order in abeyance pending review allows an appellate court
       to act responsibly. A reviewing court must bring considered judgment to bear on
       the matter before it, but that cannot always be done quickly enough to afford relief
       to the party aggrieved by the order under review. The choice for a reviewing court
       should not be between justice on the fly or participation in what may be an “idle
       ceremony.” The ability to grant interim relief is accordingly not simply “[a]n
       historic procedure for preserving rights during the pendency of an appeal,” but also
       a means of ensuring that appellate courts can responsibly fulfill their role in the
       judicial process.

Id. at 427 (citations omitted).

       “A stay is not a matter of right, even if irreparable injury might otherwise result.” Id. at

433 (citing Virginian R. Co. v. United States, 272 U.S. 658, 672 (1926)). Instead, it is “an exercise

of judicial discretion,” and “[t]he propriety of its issue is dependent upon the circumstances of the

particular case.” Id. at 434 (citations omitted).        “The traditional stay factors contemplate

individualized judgments in each case.” Id. Those legal principles have been distilled into

consideration of four factors: (1) whether the stay applicant has made a strong showing that he is

likely to succeed on the merits; (2) whether the applicant will be irreparably injured absent a stay;

(3) whether issuance of the stay will substantially injure the other parties interested in the

proceeding; and (4) where the public interest lies. Id. “The party requesting a stay bears the burden

of showing that the circumstances justify an exercise of that discretion. Id.

       Here, an analysis of these four factors strongly supports the Court’s grant of a short stay in

the event the Court denies enforcement of the previously issued protective order.




                                                     2
         Case 2:16-cv-02105-JAR Document 569 Filed 10/17/18 Page 3 of 7




II.    At Least Three Out of Four Criteria Used by This Court Strongly Favors a Stay

       This Court has authority to grant a discretionary stay based on the factors it has consistently

used as a guide and which mirror those the Supreme Court identified in Nken. “Generally stated,

the rule is that the court reviewing the application assesses the movant’s chances for success on

appeal and weighs the equities between the parties.” Mannell v. Kawasaki Motors Corp., No. 89-

4258-R, 1991 WL 34214, at *3 (D. Kan. Feb. 22, 1991) (citations omitted). Specifically, the court

considers:

       1.      Whether the movant is likely to prevail on review.

       2.      Whether the movant has established that absent a stay the movant will suffer

               irreparable harm.

       3.      Whether the issuance of a stay will cause substantial harm to the other

               parties to the proceedings.

       4.      The public interests implicated by the stay.

In re Motor Fuel Temperature Sales Practices Litig., No. 07-MD-1840-KHV, 2010 WL 3724665,

at *1 (D. Kan. Sept. 16, 2010) (citing Mannell, 1991 WL 34214, at *3).

       Here, Defendant meets the criteria for the granting of a stay because at least three of the

four factors overwhelmingly favor Defendant.

       First, absent a stay, the Defendant will definitely suffer permanent, irreparable harm. As a

candidate for Governor with the election just twenty-one days away, the release of videotape

footage will undoubtedly be sliced, diced, and reconstructed by negative campaign mavens who

are actively working against Secretary Kobach (including the now openly partisan ACLU, which

is behind this request) in the campaign. As Defendant’s motion and response clearly explained,

the use of a videotaped deposition for non-litigation purposes such as posting ads on social media




                                                     3
         Case 2:16-cv-02105-JAR Document 569 Filed 10/17/18 Page 4 of 7




or airing commercials has no foundation in the law and is expressly discouraged. See e.g., U.S. v.

McDougal, 940 F. Supp. 224 (8th Cir. 1996); Drake v. Benedek Broad. Corp., No. CIV.A.99-

2227GTV, 2000 WL 156825, at *1–2 (D. Kan. Feb. 9, 2000); Paisley Park Ent., Inc. v. Uptown

Productions, 54 F. Supp. 2d 347, 349 (S.D.N.Y. 1999) and others. Removing the videotape from

the protective order seven months after trial would be particularly injurious to Defendant because,

unless all 45 minutes will be aired (which has exactly zero chance of happening), whatever snippets

are spliced together will be taken entirely out of context. District courts in the Tenth Circuit have

repeatedly held that such use of videotaped depositions should be firmly rejected. See, e.g., Am.

Family Mut. Ins. Co. v. Minor, No. CIVA06CV02288LTBMJW, 2007 WL 4365694, at *1 (D.

Colo. Dec. 10, 2007); Howards v. Reichle, No. 06-CV-01964-CMA-CBS, 2008 WL 11363652, at

*3 (D. Colo. Nov. 25, 2008). Further, should the videotape be released and then used in some way

to oppose the Defendant’s candidacy, it would cost the Defendant tens of thousands of dollars in

new ads and manpower to attempt to respond to whatever assertions are made using cobbled-

together deposition soundbites.

       The second factor that strongly favors Defendant is the complete lack of harm that a short

stay would cause the other parties. The underlying lawsuit is currently on appeal and Plaintiffs

claim to have no interest in releasing the videotape other than to exercise their constitutional right

to do so. Indeed, armed only with third-party media requests that they just happened to receive a

few weeks before the gubernatorial election, they have not provided any explanation as to why

they waited over seven months before deciding it was time to exercise their alleged rights to release

confidential information. (Indeed, it’s rather ironic – but also illuminating as to the Plaintiffs’ true

motives here – that the media themselves never bothered to seek the release of the videotape on

their own.) If the Plaintiffs are relying on the media’s statements that the Defendant’s candidacy




                                                       4
            Case 2:16-cv-02105-JAR Document 569 Filed 10/17/18 Page 5 of 7




has increased interest in his testimony, such increased interest has already been satisfied by the

publication of his testimony in the public domain, which occurred within hours after it was played

at trial and that is still online today. In sum, it is clear that neither the parties themselves—the

actual plaintiffs nor their politically-focused counsel at the ACLU – will suffer any harm from the

grant of a short stay.

        The third factor also favors the Defendant inasmuch as there are no public interests that

would be negatively implicated by the grant of a short stay. Indeed, all of the testimony has already

been released to the public. The only interest at issue, therefore, would be in obtaining the actual

videotape. But no right exists in the physical tape where the testimony was played in open court

and the transcripts are publicly available. U.S. v. Mitchell, 2010 WL 5014444, at *2 (D. Utah,

Dec. 3, 2010) (refusing under Tenth Circuit law to release the videotape where the public was fully

aware of the contents of the videotape via a published transcript).

        Although Plaintiffs conveniently attach letters from the media as proof of the public’s

sudden interest in Secretary Kobach’s testimony, none of the media are even reporting on his

testimony, despite having had full access to it since March. What seems beyond cavil here is that

the only public interests that could be implicated are those that the media and the ACLU hope to

generate during the last three weeks of the Secretary’s campaign for Governor.

        The fourth and final factor is the likelihood of success on the merits. Defendant believes

its position on enforcing the protective order is very strong and fully supported in the previously

filed briefs. 1 However, even if the Court were to side with the Plaintiffs, a stay would still be in

order. The case law hardly compels a ruling in favor of the Plaintiffs, and even if the Court decides



        1
            Rather than re-state all of the arguments here, Defendant incorporates by reference all arguments already
              before the Court that were raised in both his original motion and his reply to Plaintiffs’ response. (Doc.
              ECF 560, 561, 566).




                                                                5
            Case 2:16-cv-02105-JAR Document 569 Filed 10/17/18 Page 6 of 7




that the equities tilt in the Plaintiffs’ favor, the weight of the other three factors leaves the fulcrum

balancing heavily towards granting Defendant the requested stay.

III.    Conclusion

        Make no mistake, although the deposition transcript has been publicly available online ever

since it was played at trial, 2 the Court’s ruling excluding the videotape from the record has

remained in place. Without question, were the contrary true, the videotape would have surfaced

in the media months ago. Nothing has transpired to change the status of the videotape since the

close of trial. Plaintiffs’ suggestion to the contrary is pure duplicity.

        The only thing that has changed – other than Plaintiffs’ position – since the close of trial is

Secretary Kobach’s active campaigning for the office of Kansas Governor. His status as a

candidate should not be the impetus to change the status of the excluded videotape. The release

of the videotape has nothing to do with this litigation; rather, it is a transparent effort by a nakedly

partisan and liberal organization to inject this lawsuit and the State’s loss into the gubernatorial

campaign. There is simply no legal justification for the videotape’s release, especially at this time.

If the Court disagrees, however, Defendant respectfully seeks a short stay in order to allow him

time to pursue appellate review before the matter becomes moot.

Dated: October 17, 2018                                 Respectfully submitted,

                                                        /s/ Sue Becker
                                                        Sue Becker, Kansas Bar No. 27806
                                                        KANSAS SECRETARY OF STATE’S OFFICE
                                                        120 S.W. 10th Ave.
                                                        Topeka, KS 66612
                                                        Telephone: (785) 296-4575
                                                        Facsimile: (785) 368-8033
                                                        Email: sue.becker@ks.gov

                                                        Attorney for Defendant


        2
            See generally, www.aclu.org/kobach.




                                                       6
         Case 2:16-cv-02105-JAR Document 569 Filed 10/17/18 Page 7 of 7




                                 CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that, on the 17th day of October, 2018, I electronically

filed the above and foregoing document using the CM/ECF system, which automatically sends

notice and a copy of the filing to all counsel of record.



                                               /s/ Sue Becker
                                               Sue Becker
                                               Attorney for Defendant Kobach




                                                      7
